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   8                           UNITED STATES DISTRICT COURT
   9                         CENTRAL DISTRICT OF CALIFORNIA
  10

  11   CYNTHIA VARGAS, an individual,       CASE NO. 2:21-cv-03827 MCS (JCx)
                                            [Honorable Mark C. Scarsi-Crtrm 7C]
  12                    Plaintiff,
  13   vs.                                  PROTECTIVE ORDER
  14   RESIDENCE INN BY MARRIOTT,           [CHANGES MADE BY COURT TO
       LLC, a Delaware Corporation;         PARAGRAPHS 3, 8 & 9]
  15   JOHN DOE, an individual; and
       DOES 2 through 25, inclusive,
  16
                        Defendants.
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       PROTECTIVE ORDER                                                   4835-1922-7636
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   1   1.     A. PURPOSES AND LIMITATIONS 1
   2          Discovery in this action is likely to involve production of confidential,
   3   proprietary, or private information for which special protection from public
   4   disclosure and from use for any purpose other than prosecuting this litigation may
   5   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   6   enter the following Stipulated Protective Order. The parties acknowledge that this
   7   Order does not confer blanket protections on all disclosures or responses to
   8   discovery and that the protection it affords from public disclosure and use extends
   9   only to the limited information or items that are entitled to confidential treatment
  10   under the applicable legal principles. The parties further acknowledge, as set forth
  11   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  12   file confidential information under seal; Civil Local Rule 79-5 sets forth the
  13   procedures that must be followed and the standards that will be applied when a
  14   party seeks permission from the court to file material under seal.
  15          B.     GOOD CAUSE STATEMENT
  16          This action is likely to involve trade secrets, customer, vendor and pricing
  17   lists and other valuable research, development, commercial, financial, technical,
  18   marketing and/or proprietary information for which special protection from public
  19   disclosure and from use for any purpose other than prosecution of this action is
  20   warranted. Such confidential and proprietary materials and information consist of,
  21   among other things, confidential business or financial information, information
  22   regarding confidential business practices, or other confidential research,
  23   development, or commercial information (including information implicating
  24   privacy rights of vendors, customers and other third parties), information otherwise
  25   generally unavailable to the public, or which may be privileged or otherwise
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        This Protective Order is based exclusively on the form/model Protective Order
       (Attorneys’ Eyes Only) appearing on the home page Magistrate Judge Jacqueline
  28   Chooljian at: https://www.cacd.uscourts.gov/honorable-jacqueline-chooljian.
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   1   protected from disclosure under state or federal statutes, court rules, case decisions,
   2   or common law. Accordingly, to expedite the flow of information, to facilitate the
   3   prompt resolution of disputes over confidentiality of discovery materials, to
   4   adequately protect information the parties are entitled to keep confidential, to
   5   ensure that the parties are permitted reasonable necessary uses of such material in
   6   preparation for and in the conduct of trial, to address their handling at the end of,
   7   and following, the litigation, and serve the ends of justice, a protective order for
   8   such information is justified in this matter. It is the intent of the parties that
   9   information will not be designated as confidential for tactical reasons and that
  10   nothing be so designated without a good faith belief that it has been maintained in a
  11   confidential, non-public manner, and there is good cause why it should not be part
  12   of the public record of this case.
  13   2.        DEFINITIONS
  14             2.1   Action: this pending federal law suit.
  15             2.2   Challenging Party: a Party or Non-Party that challenges the
  16   designation of information or items under this Order.
  17             2.3   “CONFIDENTIAL” Information or Items: information (regardless of
  18   how it is generated, stored or maintained) or tangible things that qualify for
  19   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  20   the Good Cause Statement.
  21             2.4   “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES ONLY”
  22   Information or Items: extremely sensitive “CONFIDENTIAL” Information or
  23   Items, the disclosure of which to another Party or Non-Party would create a
  24   substantial risk of serious harm that could not be avoided by less restrictive means.
  25             2.5   Counsel: Counsel who are employees of a party to this action, or of a
  26   subsidiary or parent company of a party to this action (as well as their support
  27   staff).
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   1          2.6    Designating Party: a Party or Non-Party that designates information or
   2   items that it produces in disclosures or in responses to discovery as
   3   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
   4   ONLY.”
   5          2.7    Disclosure or Discovery Material: all items or information, regardless
   6   of the medium or manner in which it is generated, stored, or maintained (including,
   7   among other things, testimony, transcripts, and tangible things), that are produced
   8   or generated in disclosures or responses to discovery in this matter.
   9          2.8    Expert: a person with specialized knowledge or experience in a matter
  10   pertinent to the litigation who has been retained by a Party or its counsel to serve as
  11   an expert witness or as a consultant in this Action.
  12          2.9    House Counsel: attorneys who are employees of a party to this Action.
  13   House Counsel does not include Outside Counsel of Record or any other outside
  14   counsel.
  15          2.10 Non-Party: any natural person, partnership, corporation, association,
  16   or other legal entity not named as a Party to this action.
  17          2.11 Outside Counsel of Record: attorneys who are not employees of a
  18   party to this Action but are retained to represent or advise a party to this Action and
  19   have appeared in this Action on behalf of that party or are affiliated with a law firm
  20   which has appeared on behalf of that party, and includes support staff.
  21          2.12 Party: any party to this Action, including all of its officers, directors,
  22   employees, consultants, retained experts, and Outside Counsel of Record (and their
  23   support staffs).
  24          2.13 Producing Party: a Party or Non-Party that produces Disclosure or
  25   Discovery Material in this Action.
  26          2.14 Professional Vendors: persons or entities that provide litigation
  27   support services (e.g., photocopying, videotaping, translating, preparing exhibits or
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   1   demonstrations, and organizing, storing, or retrieving data in any form or medium)
   2   and their employees and subcontractors.
   3          2.15 Protected Material: any Disclosure or Discovery Material that is
   4   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
   5   ATTORNEYS’ EYES ONLY.”
   6          2.16 Receiving Party: a Party that receives Disclosure or Discovery
   7   Material from a Producing Party.
   8   3.     SCOPE
   9          The protections conferred by this Stipulation and Order cover not only
  10   Protected Material (as defined above), but also (1) any information copied or
  11   extracted from Protected Material; (2) all copies, excerpts, summaries, or
  12   compilations of Protected Material; and (3) any testimony, conversations, or
  13   presentations that might reveal Protected Material other than during a court hearing
  14   or at trial.
  15          The Parties intend that the terms of this Stipulated Protective Order shall
  16   endure through, and even after, final disposition of this litigation, as set forth in
  17   Section 4 (DURATION). Accordingly, use of Protected Material during a court
  18   hearing or at trial, if at all, shall be governed by a separate agreement or order of the
  19   judicial officer presiding over such hearing or trial.
  20   4.     DURATION
  21          Even after final disposition of this litigation, the confidentiality obligations
  22   imposed by this Order shall remain in effect until a Designating Party agrees
  23   otherwise in writing or a court order otherwise directs. Final disposition shall be
  24   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
  25   with or without prejudice; and (2) final judgment herein after the completion and
  26   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  27   including the time limits for filing any motions or applications for extension of time
  28   pursuant to applicable law.
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   1   5.     DESIGNATING PROTECTED MATERIAL
   2          5.1     Exercise of Restraint and Care in Designating Material for Protection.
   3   Each Party or Non-Party that designates information or items for protection under
   4   this Order must take care to limit any such designation to specific material that
   5   qualifies under the appropriate standards. The Designating Party must designate for
   6   protection only those parts of material, documents, items, or oral or written
   7   communications that qualify so that other portions of the material, documents,
   8   items, or communications for which protection is not warranted are not swept
   9   unjustifiably within the ambit of this Order.
  10          Mass, indiscriminate, or routinized designations are prohibited. Designations
  11   that are shown to be clearly unjustified or that have been made for an improper
  12   purpose (e.g., to unnecessarily encumber the case development process or to
  13   impose unnecessary expenses and burdens on other parties) may expose the
  14   Designating Party to sanctions.
  15                  If it comes to a Designating Party’s attention that information or items
  16   that it designated for protection do not qualify for protection, that Designating Party
  17   must promptly notify all other Parties that it is withdrawing the inapplicable
  18   designation.
  19          5.2     Manner and Timing of Designations. Except as otherwise provided in
  20   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
  21   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
  22   under this Order must be clearly so designated before the material is disclosed or
  23   produced.
  24          Designation in conformity with this Order requires:
  25          (a) for information in documentary form (e.g., paper or electronic
  26   documents, but excluding transcripts of depositions or other pretrial or trial
  27   proceedings), that the Producing Party affix at a minimum, the legend
  28   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”) or “HIGHLY
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   1   CONFIDENTIAL -- ATTORNEYS’ EYES ONLY” (hereinafter “HIGHLY
   2   CONFIDENTIAL -- ATTORNEYS’ EYES ONLY legend”) to each page that
   3   contains protected material. If only a portion or portions of the material on a page
   4   qualifies for protection, the Producing Party also must clearly identify the protected
   5   portion(s) (e.g., by making appropriate markings in the margins).
   6          A Party or Non-Party that makes original documents available for inspection
   7   need not designate them for protection until after the inspecting Party has indicated
   8   which documents it would like copied and produced. During the inspection and
   9   before the designation, all of the material made available for inspection shall be
  10   deemed “CONFIDENTIAL.” After the inspecting Party has identified the
  11   documents it wants copied and produced, the Producing Party must determine
  12   which documents, or portions thereof, qualify for protection under this Order.
  13   Then, before producing the specified documents, the Producing Party must affix the
  14   “CONFIDENTIAL” legend, or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
  15   EYES ONLY” legend to each page that contains Protected Material. If only a
  16   portion or portions of the material on a page qualifies for protection, the Producing
  17   Party also must clearly identify the protected portion(s) (e.g., by making
  18   appropriate markings in the margins).
  19          (b) for testimony given in depositions, that the Designating Party identify all
  20   protected testimony and specify the level of protection being asserted, either (1) on
  21   the record, before the close of the deposition; (2) in the case of depositions other
  22   than those taken as part of the Parties’ stipulated jurisdictional discovery, in writing
  23   within 14 calendar days following the deposition; or (3) in the case of depositions
  24   taken as part of the Parties’ stipulated jurisdictional discovery, in writing within
  25   three calendar days following the deposition. Prior to the expiration of this 14-day
  26   period (or, in the case of depositions taken as part of the Parties’ stipulated
  27   jurisdictional discovery, three-day period), all information disclosed during a
  28   deposition shall be treated as “HIGHLY CONFIDENTIAL -- ATTORNEYS’
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   1   EYES ONLY” unless otherwise agreed by the Parties or ordered by the Court.
   2   After expiration of this 14-day period (or, in the case of depositions taken as part of
   3   the Parties’ stipulated jurisdictional discovery, three-day period), only those
   4   portions of the testimony that are appropriately designated for protection as set
   5   forth above shall be covered by the provisions of this Stipulated Protective Order.
   6          The use of a document as an exhibit at a deposition shall not in any way
   7   affect its designation as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL --
   8   ATTORNEYS’ EYES ONLY.”
   9          Transcripts containing Protected Material shall have an obvious legend on
  10   the title page that the transcript contains Protected Material, and the title page shall
  11   be followed by a list of all pages (including line numbers as appropriate) that have
  12   been designated as Protected Material and the level of protection being asserted by
  13   the Designating Party. The Designating Party shall inform the court reporter of
  14   these requirements. Any transcript that is prepared before the expiration of the 14-
  15   day period (or, in the case of depositions taken as part of the Parties’ stipulated
  16   jurisdictional discovery, three-day period) for designation shall be treated during
  17   that period as if it had been designated “HIGHLY CONFIDENTIAL --
  18   ATTORNEYS’ EYES ONLY” in its entirety unless otherwise agreed. After the
  19   expiration of that period, the transcript shall be treated only as actually designated.
  20          (c) for information produced in some form other than documentary and for
  21   any other tangible items, that the Producing Party affix in a prominent place on the
  22   exterior of the container or containers in which the information is stored the legend
  23   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  24   ONLY.” If only a portion or portions of the information warrants protection, the
  25   Producing Party, to the extent practicable, shall identify the protected portion(s).
  26          (d) for electronic files produced in native electronic format, by (1)
  27   appending to the file names or designators information indicating whether the file
  28   contains “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
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   1   EYES ONLY” material, or (2) using any other reasonable method for so
   2   designating Protected Materials produced in native electronic format.
   3          When files produced in native electronic format are printed for use at
   4   deposition, in a court proceeding, or for provision in printed form to any persons
   5   entitled to receive them pursuant to Section 7 (ACCESS TO AND USE OF
   6   PROTECTED MATERIAL), the party printing the files shall affix a legend to the
   7   printed documents corresponding to the designation of the Designating Party and
   8   including the Bates numbers and confidentiality designations associated with the
   9   native files.
  10          5.3      Inadvertent Failures to Designate. If timely corrected, an inadvertent
  11   failure to designate qualified information or items does not, standing alone, waive
  12   the Designating Party’s right to secure protection under this Order for such
  13   material. Upon timely correction of a designation, the Receiving Party must make
  14   reasonable efforts to assure that the material is treated in accordance with the
  15   provisions of this Order, including by undertaking the procedure described in
  16   Section 10 (UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL)
  17   with respect to any Confidential Information it previously disclosed.
  18   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS
  19          6.1      Timing of Challenges. Any Party or Non-Party may challenge a
  20   designation of confidentiality at any time that is not prohibited by any scheduling
  21   order issued by the Court, and a Party or Non-Party’s right to challenge a
  22   designation of confidentiality is never waived.
  23          6.2      Meet and Confer. The Challenging Party shall initiate the dispute
  24   resolution process under Local Rule 37.1, et seq.
  25          6.3      The burden of persuasion in any such challenge proceeding shall be on
  26   the Designating Party. Frivolous challenges, and those made for an improper
  27   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  28   parties) may expose the Challenging Party to sanctions. Unless the Designating
                                                    9
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   1   Party has waived or withdrawn the confidentiality designation, all parties shall
   2   continue to afford the material in question the level of protection to which it is
   3   entitled under the Producing Party’s designation until the Court rules on the
   4   challenge.
   5   7.     ACCESS TO AND USE OF PROTECTED MATERIAL
   6          7.1    Basic Principles. A Receiving Party may use Protected Material that is
   7   disclosed or produced by another Party or by a Non-Party in connection with this
   8   Action only for prosecuting, defending, or attempting to settle this Action. Such
   9   Protected Material may be disclosed only to the categories of persons and under the
  10   conditions described in this Order. When the Action has been terminated, a
  11   Receiving Party must comply with the provisions of section 13 below (FINAL
  12   DISPOSITION).
  13          Protected Material must be stored and maintained by a Receiving Party at a
  14   location and in a secure manner that ensures that access is limited to the persons
  15   authorized under this Order.
  16          7.2    Disclosure of “CONFIDENTIAL” Information or Items. Unless
  17   otherwise ordered by the court or permitted in writing by the Designating Party, a
  18   Receiving Party may disclose any information or item designated
  19   “CONFIDENTIAL” only to:
  20          (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
  21   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  22   to disclose the information for this Action;
  23          (b) the officers, directors, and employees (including House Counsel) of the
  24   Receiving Party to whom disclosure is reasonably necessary for this Action;
  25          (c) Experts (as defined in this Order) of the Receiving Party to whom
  26   disclosure is reasonably necessary for this Action and who have signed the
  27   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  28          (d) the court and its personnel;
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   1          (e) private court reporters and their staff to whom disclosure is reasonably
   2   necessary for this Action and who have signed the “Acknowledgment and
   3   Agreement to Be Bound” (Exhibit A);
   4          (f) professional jury or trial consultants, mock jurors, and Professional
   5   Vendors to whom disclosure is reasonably necessary for this Action and who have
   6   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   7          (g) the author or recipient of a document containing the information or a
   8   custodian or other person who otherwise possessed or knew the information;
   9          (h) during their depositions, witnesses, and attorneys for witnesses, in the
  10   Action to whom disclosure is reasonably necessary provided: (1) the deposing
  11   party requests that the witness sign the “Acknowledgment and Agreement to Be
  12   Bound” (Exhibit A); and (2) they will not be permitted to keep any confidential
  13   information unless they sign the “Acknowledgment and Agreement to Be Bound”
  14   (Exhibit A), unless otherwise agreed by the Designating Party or ordered by the
  15   court. Pages of transcribed deposition testimony or exhibits to depositions that
  16   reveal Protected Material may be separately bound by the court reporter and may
  17   not be disclosed to anyone except as permitted under this Stipulated Protective
  18   Order; and
  19          (i) any mediator or settlement officer, and their supporting personnel,
  20   mutually agreed upon by any of the parties engaged in settlement discussions, who
  21   have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A).
  22          7.3    Disclosure of “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  23   ONLY” Information or Items. Unless otherwise ordered by the court or permitted
  24   in writing by the Designating Party, a Receiving Party may disclose any
  25   information or item designated “CONFIDENTIAL” only to:
  26          (a) the Receiving Party’s Outside Counsel of Record in this Action, as well
  27   as employees of said Outside Counsel of Record to whom it is reasonably necessary
  28   to disclose the information for this Action;
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   1          (b) Experts (as defined in this Order) of the Receiving Party to whom
   2   disclosure is reasonably necessary for this Action and who have signed the
   3   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   4          (c) the court and its personnel;
   5          (d) private court reporters and their staff to whom disclosure is reasonably
   6   necessary for this Action and who have signed the “Acknowledgment and
   7   Agreement to Be Bound” (Exhibit A);
   8          (e) professional jury or trial consultants, mock jurors, and Professional
   9   Vendors to whom disclosure is reasonably necessary for this Action and who have
  10   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  11          (f) the author or recipient of a document containing the information or a
  12   custodian or other person who otherwise possessed or knew the information; and
  13          (g) any mediator or settlement officer, and their supporting personnel,
  14   mutually agreed upon by any of the parties engaged in settlement discussions, who
  15   have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A).
  16   8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  17   IN OTHER LITIGATION
  18          If a Party is served with a subpoena or a court order issued in other litigation
  19   that compels disclosure of any information or items designated in this Action as
  20   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’ EYES
  21   ONLY,” that Party must:
  22          (a) promptly notify in writing the Designating Party. Such notification shall
  23   include a copy of the subpoena or court order;
  24          (b) promptly notify in writing the party who caused the subpoena or order to
  25   issue in the other litigation that some or all of the material covered by the subpoena
  26   or order is subject to this Protective Order. Such notification shall include a copy
  27   of this Stipulated Protective Order; and
  28   ///
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   1          (c) cooperate with respect to all reasonable procedures sought to be pursued
   2   by the Designating Party whose Protected Material may be affected.
   3          If the Designating Party timely seeks a protective order, the Party served with
   4   the subpoena or court order shall not produce any information designated in this
   5   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL -- ATTORNEYS’
   6   EYES ONLY” before a determination by the court from which the subpoena or
   7   order issued, unless the Party has obtained the Designating Party’s permission or
   8   unless otherwise required by the law or court order. The Designating Party shall
   9   bear the burden and expense of seeking protection in that court of its confidential
  10   material and nothing in these provisions should be construed as authorizing or
  11   encouraging a Receiving Party in this Action to disobey a lawful directive from
  12   another court.
  13   9.     A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
  14   PRODUCED IN THIS LITIGATION
  15          (a) The terms of this Order are applicable to information produced by a Non-
  16   Party in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  17   CONFIDENTIAL -- ATTORNEYS’ EYES ONLY.” Such information produced
  18   by Non-Parties in connection with this litigation is protected by the remedies and
  19   relief provided by this Order. Nothing in these provisions should be construed as
  20   prohibiting a Non-Party from seeking additional protections.
  21          (b) In the event that a Party is required, by a valid discovery request, to
  22   produce a Non-Party’s confidential information in its possession, and the Party is
  23   subject to an agreement with the Non-Party not to produce the Non-Party’s
  24   confidential information, then the Party shall:
  25          (1) promptly notify in writing the Requesting Party and the Non-Party that
  26   some or all of the information requested is subject to a confidentiality agreement
  27   with a Non-Party;
  28   ///
                                                  13
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   1          (2) promptly provide the Non-Party with a copy of the Stipulated Protective
   2   Order in this Action, the relevant discovery request(s), and a reasonably specific
   3   description of the information requested; and
   4          (3) make the information requested available for inspection by the Non-
   5   Party, if requested.
   6          (c) If the Non-Party fails to seek a protective order from this court within 14
   7   days of receiving the notice and accompanying information, the Receiving Party
   8   may produce the Non-Party’s confidential information responsive to the discovery
   9   request. If the Non-Party timely seeks a protective order, the Receiving Party shall
  10   not produce any information in its possession or control that is subject to the
  11   confidentiality agreement with the Non-Party before a determination by the court
  12   unless otherwise required by the law or court order. Absent a court order to the
  13   contrary, the Non-Party shall bear the burden and expense of seeking protection in
  14   this court of its Protected Material.
  15   10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
  16   If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
  17   Protected Material to any person or in any circumstance not authorized under this
  18   Stipulated Protective Order, the Receiving Party must immediately (a) notify in
  19   writing the Designating Party of the unauthorized disclosures, (b) use its best
  20   efforts to retrieve all unauthorized copies of the Protected Material, (c) inform the
  21   person or persons to whom unauthorized disclosures were made of all the terms of
  22   this Order, and (d) request such person or persons to execute the “Acknowledgment
  23   and Agreement to Be Bound” that is attached hereto as Exhibit A.
  24   11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  25   PROTECTED MATERIAL
  26          When a Producing Party gives notice to Receiving Parties that certain
  27   inadvertently produced material is subject to a claim of privilege or other
  28   protection, the Receiving Parties must promptly return, sequester, or destroy the
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   1   specified material and any copies it has; must not use or disclose the material until
   2   the claim is resolved; must take reasonable steps to retrieve the material if the
   3   Receiving Parties disclosed it before being notified; and may promptly seek a
   4   determination from the court of the Producing Party’s claim of privilege or other
   5   protection. The Producing Party must preserve the material until the claim is
   6   resolved.
   7          Inadvertent production of privileged or work-product-protected material,
   8   whether prior to or after the date of entry of this Stipulated Protective Order, is not
   9   a waiver of the privilege or protection in this Action or in any other federal, state
  10   and alternative dispute resolution proceeding. This Stipulated Protective Order
  11   shall be interpreted to provide the maximum protection permitted by Federal Rule
  12   of Evidence 502(d) and (e).
  13   12.    MISCELLANEOUS
  14          12.1 Right to Further Relief. Nothing in this Order abridges the right of any
  15   person to seek its modification by the Court in the future.
  16          12.2 Right to Assert Other Objections. By stipulating to the entry of this
  17   Protective Order no Party waives any right it otherwise would have to object to
  18   disclosing or producing any information or item on any ground not addressed in
  19   this Stipulated Protective Order. Similarly, no Party waives any right to object on
  20   any ground to use in evidence of any of the material covered by this Protective
  21   Order.
  22          12.3 Filing Protected Material. Without written permission from the
  23   Designating Party and any other interested persons, or a court order secured after
  24   appropriate notice to the Designating Party and any other interested persons, a Party
  25   may not file in the public record any Protected Material. A Party that seeks to file
  26   under seal any Protected Material must comply with Civil Local Rule 79-5.
  27   Protected Material may only be filed under seal pursuant to a court order
  28   authorizing the sealing of the specific Protected Material at issue. If a Party's
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   1   request to file Protected Material under seal is denied by the court, then the
   2   Receiving Party may file the information in the public record unless otherwise
   3   instructed by the court.
   4          12.4 Non-Waiver of Arbitration Rights. Nothing in this Stipulated
   5   Protective Order, or in the Parties’ entry into or performance under this Stipulated
   6   Protective Order, shall constitute or be construed as a waiver of any kind with
   7   respect to any Party’s right to arbitration, or of any party’s right to compel
   8   arbitration, of any disputes or controversies, including any disputes or controversies
   9   at issue in this Action. Likewise, nothing in this Stipulated Protective Order, or in
  10   the Parties’ entry into or performance under this Stipulated Protective Order, shall
  11   constitute or be construed as a waiver of any kind with respect to any Party’s
  12   objection to any arbitration proceeding and/or to the commencement of any such
  13   arbitration proceeding.
  14          12.5 Use of Protected Material in Arbitration. Notwithstanding anything to
  15   the contrary in this Stipulated Protective Order, Protected Material subject to this
  16   Stipulated Protective Order may be used in any arbitration proceeding between the
  17   Parties to the same extent, and under the same terms and conditions, as such
  18   Protected Material may be used in this Action.
  19   13.    FINAL DISPOSITION
  20          After the final disposition of this Action, as defined in Section 4, within 60
  21   days of a written request by the Designating Party, each Receiving Party must
  22   return all Protected Material to the Producing Party or destroy such material. As
  23   used in this subdivision, “all Protected Material” includes all copies, abstracts,
  24   compilations, summaries, and any other format reproducing or capturing any of the
  25   Protected Material. Whether the Protected Material is returned or destroyed, the
  26   Receiving Party must submit a written certification to the Producing Party (and, if
  27   not the same person or entity, to the Designating Party) by the 60 day deadline that
  28   (1) identifies (by category, where appropriate) all the Protected Material that was
                                                  16
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   1   returned or destroyed and (2) affirms that the Receiving Party has not retained any
   2   copies, abstracts, compilations, summaries or any other format reproducing or
   3   capturing any of the Protected Material. Notwithstanding this provision, Counsel
   4   are entitled to retain an archival copy of all pleadings, motion papers, trial,
   5   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
   6   and trial exhibits, expert reports, attorney work product, and consultant and expert
   7   work product, even if such materials contain Protected Material. Any such archival
   8   copies that contain or constitute Protected Material remain subject to this Protective
   9   Order as set forth in Section 4 (DURATION).
  10          14.    Any violation of this Order may be punished by any and all
  11   appropriate measures including, without limitation, contempt proceedings and/or
  12   monetary sanctions.
  13

  14
       IT IS SO ORDERED.
  15
       DATED: November 3, 2021                         ____________/s/__________________
  16                                                   Honorable Jacqueline Chooljian
  17
                                                       United States Magistrate Judge

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   1                                      EXHIBIT A
   2           ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3   I,   _________________________            [print    or    type     full    name],     of
   4   _______________________________________________ [print or type full
   5   address], declare under penalty of perjury that I have read in its entirety and
   6   understand the Stipulated Protective Order that was issued by the United States
   7   District Court for the Central District of California on November 3, 2021, in the case
   8   of Cynthia Vargas v. Residence Inn By Marriott, LLC et al., Case No. 2:21-cv-03827
   9   MCS (JCx). I agree to comply with and to be bound by all the terms of this Stipulated
  10   Protective Order and I understand and acknowledge that failure to so comply could
  11   expose me to sanctions and punishment in the nature of contempt. I solemnly promise
  12   that I will not disclose in any manner any information or item that is subject to this
  13   Stipulated Protective Order to any person or entity except in strict compliance with
  14   the provisions of this Order.
  15   I further agree to submit to the jurisdiction of the United States District Court for the
  16   Central District of California for the purpose of enforcing the terms of this Stipulated
  17   Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint _________________ [print or type full
  19   name] of ______________________________________________ [print or type
  20   full address and telephone number] as my California agent for service of process in
  21   connection with this action or any proceedings related to enforcement of this
  22   Stipulated Protective Order.
  23   Date: __________________
  24   City and State where sworn and signed: ___________________________
  25   Printed Name: __________________________
  26

  27   Signature: ______________________________

  28
                                                  18
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